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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    OFFICE OF THE CLERK
                            E L I Z A B E T H M. W A R R E N , C L E R K



              NOTICE REGARDING PRE-MARKING EXHIBITS


  Under Local Rule 3.07(a), each party must pre-mark and identify exhibits proposed to
  be offered in evidence at a trial or evidentiary hearing using exhibit labels obtained
  from the Clerk or the Court’s website. Under Local Rule 3.07(b), each party must
  deliver an exhibit list to each opposing party and deliver three copies of the exhibit list
  to the judge before a trial or an evidentiary hearing.


  A court-approved exhibit list and exhibit labels are attached to this notice. When
  completing the exhibit labels, be sure to select the appropriate party and to include the
  case number and style. Exhibits must be consecutively numbered, and the labels
  should be stapled to the upper right corner of each exhibit. The exhibit list must
  sequentially list and briefly describe each exhibit.


  Note that these instructions are purposely general in nature and are intended to
  supplement the Local Rules. Individual judges might have additional preferences that
  can be found under each judge’s name on the Court’s website,
  flmd.uscourts.gov/judges/all.
    Case 3:21-cr-00022-MMH-MCR Document 169-2 Filed 01/03/23 Page 2 of 4 PageID 1373
        U.S. District Court                    U.S. District Court                  U.S. District Court
      Middle District of Florida             Middle District of Florida           Middle District of Florida
               EXHIBIT                               EXHIBIT                              EXHIBIT

Exhibit Number: __________________     Exhibit Number: __________________   Exhibit Number: __________________

Case Number:                           Case Number:                         Case Number:


Case Style:                            Case Style:                          Case Style:


                   v.                                     v.                                   v.


Date Identified:                       Date Identified:                     Date Identified:


Date Admitted:                         Date Admitted:                       Date Admitted:




        U.S. District Court                    U.S. District Court                  U.S. District Court
      Middle District of Florida             Middle District of Florida           Middle District of Florida
               EXHIBIT                               EXHIBIT                              EXHIBIT

Exhibit Number: __________________     Exhibit Number: __________________   Exhibit Number: __________________
Case Number:                           Case Number:                         Case Number:


Case Style:                            Case Style:                          Case Style:


                   v.                                     v.                                   v.


Date Identified:                       Date Identified:                     Date Identified:


Date Admitted:                         Date Admitted:                       Date Admitted:




        U.S. District Court                    U.S. District Court                  U.S. District Court
      Middle District of Florida             Middle District of Florida           Middle District of Florida
               EXHIBIT                               EXHIBIT                              EXHIBIT

Exhibit Number: __________________     Exhibit Number: __________________   Exhibit Number: __________________
Case Number:                           Case Number:                         Case Number:


Case Style:                            Case Style:                          Case Style:


                   v.                                     v.                                   v.


Date Identified:                       Date Identified:                     Date Identified:


Date Admitted:                         Date Admitted:                       Date Admitted:



       Print                 Save As                                                Reset
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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                Choose Division




              Plaintiff(s),

   v.                                                Case No.:



              Defendant(s).
                                         /


                                     EXHIBIT LIST

   ☐ Government    ☐ Plaintiff(s)   ☐ Defendant(s)     ☐ Court   ☐ Other:

    Exhibit     Date           Date
     No.      Identified      Admitted           Witness              Description
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    Exhibit     Date        Date
     No.      Identified   Admitted         Witness            Description




                                       2
